           Case 3:20-cv-05451-MJP-MLP Document 41 Filed 01/12/21 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9

10          DENGE LEMO GAHANO,                              CASE NO. C20-5451 MJP-MLP

11                                 Plaintiff,               MINUTE ORDER

12                  v.

13          STEPHEN LANGFORD, et al.,

14                                 Defendants.

15

16          The following minute order is made by the direction of the court, the Honorable Marsha

17   J. Pechman, United States District Judge:

18          The Court has received and reviewed Plaintiff’s Motion for Extension to File a Reply.

19   (Dkt. No. 40.) The Court GRANTS a brief extension based on Plaintiff’s representation

20   concerning the delayed delivery of Defendants’ response to his Motion for a Temporary

21   Restraining Order. Plaintiff may file a Reply by no later than January 15, 2021.

22   \\

23   \\

24   \\


     MINUTE ORDER - 1
          Case 3:20-cv-05451-MJP-MLP Document 41 Filed 01/12/21 Page 2 of 2




 1         The clerk is ordered to provide copies of this order to Plaintiff and all counsel.

 2         Filed January 12, 2021.

 3
                                                    William M. McCool
 4                                                  Clerk of Court

 5                                                  s/Paula McNabb
                                                    Deputy Clerk
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24


     MINUTE ORDER - 2
